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Attorneys at Law

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

ESTATE OF S.P., DECEASED
By KRISTEN PRAET, Personal Representative,

Plaintiffs,

vs. Case No. 24-
Hon.

UNITED STATES OF AMERICA

Defendants,

/

GERALD THURSWELL (P21448)
ARDIANA CULAJ (P71553)

THE THURSWELL LAW FIRM P.L.L.C.
Attorney for Plaintiffs
1000 Town Center, Suite 500
Southfield, MI 48075
aculaj@thurswell.com
(248) 354-2222
/

PLAINTIFF’S COMPLAINT AND AFFIDAVITS OF MERITORIOUS
CLAIM

NOW COME the above-named Plaintiffs by their attorneys, ARDIANA
CULAJ, of THE THURS WELL LAW FIRM, and complaining against the
above-named Defendants, their agents, servants and/or employees, either real or

ostensible, and say as follows:

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I.

JURISDICTION, PARTIES AND VENUE

This is a medical malpractice/wrongful death claim brought in part under
the Federal Tort Claims Act for severe and permanent injuries arising out
of negligent acts or omissions of employees, agents, apparent agents,
servants or representatives of the Defendant United States of America
(hereinafter may be referred to as “USA”) while acting within the course
and scope of their employment, agency, apparent agency, servitude, or
representative capacity, under circumstances where the United States of
America, if a private person, would be liable to the Plaintiffs under the laws
of the State of Michigan where the acts and/or omissions occurred. This
Court has original subject matter jurisdiction pursuant to 28 U.S.C. §1346
(b).
At all times relevant and/or material to these matters, the employees,
agents, apparent agents, servants or representatives of the United States
were subject to the United States’ right to control, including substantial
supervision and direction over their day-to-day activities.

The Plaintiff Kristen Praet (hereinafter referred to as “Plaintiff Praet”, in an

individual residing in the city of Unionville, County of Tuscola Michigan.

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At all times relevant to this Complaint, the Defendant, United States off
America, was the employer of health care providers who administered care
and treatment to Plaintiffs’ decedent, S.P., at the Great Lakes Bay Health
Centers, and McLaren Bay Regional Hospital, in Bay City, Michigan.

The United States of America is a Defendant.

The Defendant United States of America may be served with process in
accordance with Rule 4(i) of the Federal Rules of Civil Procedure by
serving a copy of the Summons and Complaint on the Acting United States
Attorney for the Eastern District of Michigan, 211 W. Fort Street, Suite
2001, Detroit, MI 48226 to the attention of the Civil Process Clerk and by
serving a copy of the Summons and Complaint on Attorney General of the
United States of America, by registered or certified mail, to the Attorney,
General’s Office, 10" and Constitution Avenue, N.W., Washington, D.C
20530, to the attention of the Civil Process Clerk.

Venue is proper in the United States District Court for the Eastern District
of Michigan pursuant to 28 U.S.C. § 1391(a)(1) and (c) as the United States
is a Defendant and because all or part of the cause of action accrued in this

District and because the Plaintiff resides in this District.

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II.

LIABILITY OF THE UNITED STATES OF AMERICA

This case is commenced and prosecuted against the United States of
America pursuant to and in compliance with Title 28 U.S.C. §§2671-2680,
commonly referred to as the “Federal Tort Claims Act.” Liability of the
United States is predicated specifically on Title 28 U.S.C. §§1346(b)(1) an
d 2674 because the personal injuries and resulting damages of which
complaint is made, were proximately caused by the negligence, wrongful
acts or omissions of employees of the United States while acting within
the scope of their office or employment, under circumstances where the
United States, if a private person, would be liable to the Plaintiffs in the
same manner and to the same extent as a private individual under the laws
of the State of Michigan.
The United States Department of Health and Human Services is an agency
of the United States of America. The United States of America, Defendant,
through its agency, the United States Department of Health and Human
Services, at all times material hereto, owned, operated and controlled the
health care facility known as Family Health Center at Battle Creek-

Women’s Health, and though its agency, the United States Department of

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Health and Human Services, staffed the health care facility with agents,

servants, and/or employees.

III.

“FTCA” JURISDICTIONAL PREREQUISITES

On April 13, 2023, the Plaintiffs filed their administrative claims based
on the facts alleged herein with the appropriate federal agency — The
Department of Health and Human Services — for damages arising out of
the wrongful death of S.P, based on the negligence of the United States’
employees, agents, apparent agents, servants or representatives,
practicing in the course and scope of their employment with Great Lakes
Bay Health Center-Women’s Care Bay City, which is a federally funded
clinic in Bay City, Michigan.

On February 20, 2024, the United States Department of Health and
Human Services denied these claims. Accordingly, Plaintiffs have
complied with all jurisdictional prerequisites and conditions precedent to

the commencement and the prosecution of this litigation.

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IV.

FACTS

Plaintiff Praet became pregnant in April of 2021. She had an expected
due date of February 12, 2022, based on ultrasound, and a due date of
February 4, 2022 based on last menstrual period.

Plaintiff Praet went for prenatal care at Great Lakes Bay Health Center-
Women’s Care Bay City, which is a federally funded clinic in Bay City,
Michigan.

Plaintiff Praet had approximately 25 prenatal visits from 8/4/21 at 12
weeks to 1/24/22 at Great Lakes Bay Health Centers- Women’s Care.
Plaintiff Praet’s pre-pregnancy weight was approximately 280 pounds
and at 37 weeks gestation, her weight was 358 pounds.

Plaintiff Praet was an insulin dependent diabetic with a 5-times increased
risk of fetal demise.

On 9/22/21, Plaintiff Praet presented to Great Lakes Bay Health Center
for a prenatal visit, at 19 weeks and 4 days gestation. it was noted that

was Pre-gestational Diabetes mellitus on insulin, Hb A 1 c 9 in first

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trimester. It was noted she had a lower transverse c-section in 2019 at 37
weeks and 4 days gestation.
On 10/5/21, Plaintiff Praet presented to Dr. Daniel Wechter (Maternal
Fetal Medicine PC) at approximately 22 weeks gestation for a
consultation due to her pre-gestational diabetes and obesity. Dr. Wechter
noted under impression and recommendations:
“T think this patient is stable today, but has
significant risks related to her weight and
diabetes (undetected anomaly, neonatal
hypoglycemia, IUFD, preeclampsia, wound

infection at her repeat C/S. Sincerely, Daniel J
Wechter, MD.

On 1/7/22, it was noted that “patient desires to proceed with a repeat C-
section. Will schedule for 39 weeks gestation.”
That the records of Great Lakes Bay Health Centers — Women’s Care

Bay City on the mother Kristen Praet indicate:

“1/7/22. Next visit: 4d Comment: BPP 8/8. Pt seen on L&D this
week for r/o preE (preeclampsia), pt was given incentive spirometer
and ace bandages for swelling. BP (blood pressure )today wnl
(within normal limits), urine protein neg. She says her SOB is much
improved with IS. Denies PreE sx. Discussed TOLAC risks due
to LGA, pt desires to proceed with repeat C/S. Will sched for 39
weeks. BS logs not here but per pt still well controlled. Heidi
Petrimoulx RMA January 7, 2022 2:39 PM”

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That the records of Great Lakes Bay Health Centers — Women’s Care

Bay City on the mother Kristen Praet indicate:

“Date of Exam: 1/14/22 Obstetrical Ultrasound Report Best
Overall Assessment: 1/14/22. EDC: 2/12/22 Assessed GA: 35w6d
Biophysical profile: Score 8 / 8. Sonographer: Kelli Ivey, RDMS
Physician: Vanessa Rondinelli, MD, OB/GYN P3-4 (US reports)

1/20/22 Assessed GA: 36w5d EF W (g): 41 16g >95"%”

That the records of Great Lakes Bay Health Centers - Women’s Care

Bay City on the mother Kristen Praet indicate:

“Date of Exam: 1/20/22

Obstetrical Ultrasound Report

Best Overall Assessment: 1/20/22.
EDC: 2/12/22

Assessed GA: 36w5d

EFW (g): 4116g >95"%

Biophysical profile: Score 8 / 8.
Sonographer: Savannah Stuits, RDMS
Physician: Douglas Saylor, MD OB/GYN
P5-6 (US reports)

1/27/22”

Plaintiff's ultrasound on 1/20/22 noted an EFW of 4116+ 1 pound with

an increased AC (abdominal circumference) greater than 95th percentile

markedly increasing the risk of shoulder dystocia.

That the records of Great Lakes Bay Health Centers — Women’s Care

Bay City on the mother Kristen Praet, indicate:

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“Comments: 1/24/22 , 37-2/7 weeks’ gestation; patient is here today
at 37 weeks 2 days. She had a reactive NST. Her last ultrasound
showed the baby was in the 95" percentile. Her initial blood
pressure was elevated. She is essentially asymptomatic aside from
some difficulty breathing when laying flat and some increase in lower
extremity swelling. Patient was discussed with Dr. Stryker, will
send to hospital today for further evaluation.”

On 1/24/22, following her visit at Great Lakes Bay Health Center,

Plaintiff Praet presented to McLaren Bay Region Hospital. She was seen

by Vanessa Rondinelli, MD.

The records of McLaren Bay Region Hospital, on the mother Kristen

Praet indicate:

“1/24/22 Discharge Summary: Pt is a 33y G4P1021 at 37-2/7

weeks who presents from the office with orthopnea, swelling and
elevated BP x1 during NST. Her one BP in the office was 150/90
mmHg, her repeat was 122/92 mm Hg.

Pt reports that for the past few days, she's been experiencing painful
swelling in bilateral lower extremities predominantly at night.
Relieved with elevation of the legs. She has started to notice little
red dots around her ankles. She has compression stockings at home
but they are too small for her and barely fit over her calves. She
denies calf pain. She also reports feeling heaviness in the chest at
night when she lays to sleep. She sleeps on her sides and never on
her back but still feels the pressure. She denies chest pain, sputum,
or coughing fluid. She denies any chest pain. Pt reports occasional
unilateral headaches located at the temple, which self-resolve or
improve with Tylenol. Denies changes in vision. She reports that
her sugars have been well controlled but she didn't take her lunch
time insulin today with her meal.”

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27. | The records of McLaren Bay Region Hospital, on the mother Kristen

Praet indicate:

“1/24/22 PROBLEMS LIST: 2019- LT C/S breech. 37-4/7 wks.
8#3 desires TOLAC (trial of labor after cesarean section) signed
consent 11/3/21. Pre-gestational DM on insulin, Hb A Ic 9 in first
trimester NPH 30AM & PM, aspart 20 TID. Fetal survey twice
weekly starting at 32 weeks.Fetal macrosomia: Last EFW 1120:
EFW=4116grams 91bsloz >95th AC=>95th% FHT=148bpm
BPP=8i8 AFl=16.1cm posterior placenta and cephalic
presentation.”

28. The records of McLaren Bay Region Hospital, on the mother Kristen

Praet indicate:

1/24/22 Hospital Course: Patient was monitored for over 2 hours
with BPs cycling every 15 min.She had one borderline elevated
BP of 141/71 mm Hg which was within 4 hours from her initial
high BP reading in the office. Pre-eclampsia labs were submitted
and within normal limits. Her P:C ratio was 0.1. Her lung exam
was unremarkable and I believe the SOB is due to weight and
possible atelectasis, for this I gave her an incentive spirometer to
take home for use.

In regards to her lower extremity swelling, she was given Ace
bandages to wrap her feet and ankles. She has 2+ pitting edema
bilaterally but no swelling in the upper extremities. Her POC
glucose was 201. She was given 4 units of insulin and her glucose
decreased to 94.”

29. The records of McLaren Bay Region Hospital, on the mother Kristen
Praet indicate:

1/24/22 We had a lengthy discussion today regarding her desire to
VBAC. Her previous C/S was due to breech presentation and she's

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never had a vaginal birth before or after that section. In light of the
fact that she has diabetes and this baby is measuring >95th™%
with AC >95% and EF W 4116 four days ago, the risk of birth
trauma to the neonate or obstetrical trauma to her is
significantly higher. I calculated her predicted chance of VBAC
using the Maternal-Fetal Medicine Units Network calculator to be
27%. The patient was tearful as she was depending on a successful
VBAC to take care of her baby and toddler at home postpartum. I
acknowledged her concerns and explained to her that we always have
to weigh risks and benefits of birthing options and ultimately make a
plan using shared decision making. In this case, knowing the baby
will likely be macrosomic at birth (plan for IOL@ 39 weeks for
pregestational diabetes), the risk of trauma or even death is
significantly higher. The patient will discuss this with her husband
and make a decision this week.”

The records of McLaren Bay Region Hospital, on the mother Kristen

Praet indicate:

“1/24/22 Discharge Diagnoses and Plan

1. R/o (rule out) gHTN (gestational hypertension VS
Preeclampsia”

- BPs wnl, one outlier as mentioned above (within 4 hours from
original elevated BP in the office) this does not qualify her for dx of
gestational hypertension

- PreE labs negative (see above)

- pt declined Tylenol, states headache improves with meals

- because pt's P:C ratio less than 0.2, not necessary to repeat 24h
urine protein at this time

- pt encouraged to come to the office tomorrow, wed or thurs (before
her BPP on friday) for BP check. Pt stated that her husband works
these days and she likely won’t have a ride but I encouraged pt to
find alternate mode of transportation to come in for BP check.
Communication note sent to OB nurse to f/u tomorrow

- Emphasis on pre-eclampsia symptoms reiterated, pt understands
and agrees to return to hospital if any worsening signs or symptoms
develop.

Patient Discharge Condition

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stable

Discharge Disposition

home

Follow Up Appointments

When: 1/28/22

With: Dr. Vanessa A Rondinelli, MD

Electronically signed: Dr. Vanessa A Rondinelli, MD”

Although the standard of care required, Defendants failed to schedule delivery at}
38 weeks’ gestation.

That the records of Great Lakes Bay Health Centers — Women’s Care Bay
City on the mother Kristen Praet indicate that on 1/26/22 at 37 weeks

gestation, there was edema 2+ in the lower extremities.

That the records of Great Lakes Bay Health Centers — Women’s Care
Bay City on the mother Kristen Praet indicate:

“ 1/27/2022 -Append Provider: Norma Cruz Location of Care:
Great Lakes Bay Health Centers Womens Care Bay City patient
t/s b/p check for 1/27 unable to get a ride will call after hour

number if needed. Electronically signed by Norma Cruz on
1/27/2022 at 9:05 AM.”

On 1/28/22, a C-section was scheduled for 2/8/22. In violation of the
standard of care which required delivery at 38 weeks Defendants

scheduled a C-section on 2/8/22.

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35. That the records of Great Lakes Bay Health Centers — Women’s Care
Bay City on the mother Kristen Praet indicate:

“1/28/2022 -Append: ob, BPP 37wéd, rm4, visit 18 Provider:
Vanessa Amanda Rondinelli MDLocation of Care: Great Lakes
Bay Health Centers Women’s Care Bay City Communication
Note Communication Details: Please schedule pt for repeat C/S
with me and one of my partners Tues Feb 8 in the AM. Initial call
taken by: Vanessa Amanda Rondinelli MD, (OB/GYN January
28, 2022 12:38 PM Follow-up Actions Details: All set, Ol
(Omosalewa Itauma, MD) will assist. Followed up by: Kelli Ivey
RDMS, January 28, 2022 1:52 PM”

36. That the records of Great Lakes Bay Health Centers — Women’s Care
Bay City on the mother Kristen Praet indicate:

“Date of Exam: 1/28/22

Obstetrical Ultrasound Report

Best Overall Assessment: 1/28/22.

EDC: 2/12/22

Assessed GA: 37w6d

Biophysical profile: Score 8 / 8.

Sonographer: Kelli Ivey, RDMS

Physician: Vanessa Rondinelli, MD (OB/GYN)
P7-8 (US reports)”

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37. That the records of McLaren Bay Region Hospital on the mother
Kristen Praet indicate:

“Phone Msg

1/28/2022 15:43

From: Wisniewski, Michael

To: BAY IND Great Lakes Bay Health Centers - Women's Care;
Sent: 1/28/2022 15:43

Subject: Schedule Procedure Confirmation

Due Date/Time: 1/29/2022 15:43

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Surgeon Name: Dr. RONDINELLI / Dr. ITAUMA TO ASSIST
Procedure: REPEAT CESAREAN SECTION

Procedure Date: 02/08/22

Procedure Time: NOTES: PLEASE ENTER ORDERS”

On 1/31/22, Plaintiff Kristen Praet was seen in the office by Kayla
Violette, RDMS (Sonographer). She noted very little fetal movement
with a non-reactive NST obtained BPP (Biophysical Profile) was 8/ 10.
Based upon the increased maternal and fetal risks in this case, including
uterine rupture from prior C-section and/or, shoulder dystocia and
brachial plexus injury from macrosomia and insulin dependent diabetes
and/or history of decreased fetal movement and/or, increased risk of still
birth, the standard of care of the Defendant’s employees and/or agents
herein required on 1/31/22 an immediate C-section be performed, which
the mother had previously consented to, or labor induction after the
1/31/22 non reassuring stress test, but in violation of the standard of care
this was not done.

On 1/31/22 the standard of care required baby S.P. be delivered but in
violation of the standard of care, she was not delivered.

Timely delivery by C-section or induction of labor on 1/31/22 would
have avoided the baby S.P.’s death.

That the records of Great Lakes Bay Health Centers — Women’s Care

Bay City on the mother Kristen Praet indicate:

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“Date of Exam: 1/31/22 (Monday)

Obstetrical Ultrasound Report :Indications: BPP, non-reactive
NST, maternal obesity, pregestational diabetes. Best Overall
Assessment: 1/31/22. EDC: 2/12/22 Assessed GA: 38w2d

Fetal Well-being Assessment: Amniotic fluid: mildly increased.
Biophysical Profile: Fetal body movements; normal (2). Fetal Tone:
normal (2). Fetal breathing movements: normal (2). Amniotic fluid
volume: normal (2). Non-stress test: abnormal (0).

Score: 8 / 10.

Sonographer: Kayla Violette, RDMS

Physician: Audrey Stryer, MD

P9-10 (US reports)

1/31/22 (Monday) Repeat C-section consent on chart.”

That the records of Great Lakes Bay Health Centers — Women’s Care Bay

City on the mother Kristen Praet indicate:

1/31/2022 at 1:48 pm, Non-Reactive Non-Stress Test, gestational
diabetes, estimated fetal weight greater than 95%.

Impression: follow up as needed twice weekly until surgery
GBS positive: you will need antibiotics in labor to prevent the baby
from getting an infection. Call us if you think you may be leaking
from your bag of water. Increases risks of infection complications
with your pregnancy. Diabetes mellitus, pregestational
Medications: Insulin

The baby may need IV for low blood sugar possible transfer to
Covenant

Diabetes mellitus, pregestational - BPP= 8/10 (non-reactive NST),
AFI= 23.6 cm, FHR=161 bpm.

Order: Ultrasound.

Kayla Violette RDMS January 31, 2022 3:59 PM

Flowsheet View for Follow-up visit

Estimated weeks of gestation: 38-27

Weight: 372

Next Visit: 4 d (days)

Comment: PIH, L&D... blood sugars are ok so far AES.

BMI Classification: Obese

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Signed: Audrey Ellen Stryker, MD OB/GYN on 2/2/22 at
12:13PM

That the records of Great Lakes Bay Health Centers — Women’s Care

Bay City on the mother Kristen Praet indicate:

“02/04/2022 - Office Visit OBGYN: Return Visit - BPP

Provider: Vanessa Amanda Rondinelli MD

OB Return Visit HPI Details: Kristen Praet presents for BPP.
Savannah Stuits RDMS February 4, 2022 5:02PM

New Orders:Ultrasound, FTL BIOPHYSICAL PROFILE W/O
NON-STERSS TESTING

Impression: Encounter for antenatal screening for fetal macrosomia,
Large for gestation age fetus,

third trimester. FHT=absent. Savannah Stuits RDMS February 4,

2022 5:04PM (Friday)

Order: Ultrasound; FTL BIOPHYSICAL PROFILE W/O NON-
STERSS TESTING (LARGE FOR

GESTATION AGE FETUS; THIRD TRIMESTER-DIABETES
MELLITUS; PREGESTATIONAL)

Flowsheet View for Follow-up Visit

Estimated weeks of gestation: 38-6/7

Edema: 1+LE

Vaginal bleeding: no

Vaginal discharge: no

Fundal height: bpp

Fetal activity: dee

Labor symptoms: no

Fetal position: vertex

Comment: Pt presented for BPP, reported no kicks since Monday
(1/31/22) but sensation of "rolling",

no ctx, no VB, no LOF. No heart tones detected on US via 2D or
Doppler flow. Confirmed IUFD. Pt appropriately devastated by the
news. Provided emotional support and sent to L&D for induction vs
repeat CS. OI updated.”

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That the records of Great Lakes Bay Health Centers —- Women’s Care

Bay City on the mother Kristen Praet indicate:

“Date of Exam: 2/4/22 Obstetrical Ultrasound Report

Indications: BPP. Best Overall Assessment: 1/31/22.

EDC: 2/12/22 Assessed GA: 38w6d

Fetal Well-being Assessment:

Biophysical Profile: Fetal body movements; abnormal (0). Fetal
Tone: abnormal (0). Fetal breathing movements: abnormal (0).
Amniotic fluid volume: abnormal (0). Score: 0/8.

Impression: Absent fetal heart tones.

Confirmed IUFD (intrauterine fetal demise) in my presence. Patient
sent to L&D. Sonographer: Savannah Stuits, RDMS

Physician: Vanessa Rondinelli, MD OB/GYN (2/4/22)”

That the records of McLaren Bay Region Hospital on the mother

Kristen Praet indicate:

“History and Physical

Date: 2/4/22 1915

Addendum by Itauma, MD, Omosalewa on February 04, 2022
21:51

33 yo G4P1021 at 38 weeks 6 days gestational age by 12-week
ultrasound with IUFD diagnosed during office visit earlier today.
Patient with history significant for previous cesarean delivery and
diabetes diagnosed during this pregnancy. Last growth ultrasound
1/20/2022 showed fetal macrosomia with EFW 4116g. Route of
delivery discussed with patient TOLAC vs repeat cesarean delivery.
Patient desires repeat cesarean delivery. Risks and benefits of repeat
cesarean delivery discussed with risks including but not limited to
infection, bleeding, unintended injury to surrounding structures, and
need for more extensive surgery. Patient expressed understanding.
Informed consent signed.

Elevated bps on presentation to L&D noted, most recent wnl
106/75. HELLP labs wnl. Urine protein creatinine ratio- calculation
not able to be performed. Continue to monitor bps.

Blood glucose management

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Work up labs ordered

Preop labs ordered

Anesthesia team informed

Ancel for surgical prophylaxis

Type and crossmatch 2 units

To OR for repeat cesarean delivery.
Signed: Itauma, MD, Omosalewa”’

47. That the records of McLaren Bay Region Hospital on the mother
Kristen Praet indicate:

“History and Physical

Date: 2/4/22 1915

Chief Complaint

IUFD (intrauterine fetal demise) sent from office.

Was seen in the office today @ 38 6/7 wks for her twice weekly
monitoring bpp.

Was found to have a fetal demise.”

48. That the records of McLaren Bay Region Hospital on the mother

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Kristen Praet indicate:

“Operative Report

2/5/2022 00:48

ltauma, MD, Omosalewa

Preoperative Diagnosis

Term intrauterine fetal demise

Fetal macrosomia

Maternal diabetes mellitus

Previous cesarean delivery

Class IV obesity

Procedure

Repeat low transverse cesarean delivery
Surgeon(s)

Itauma, MD, Omosalewa (Surgeon - Primary)
Assistant

Closen, Alyssa Marie (First Assistant)

Findings

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Fetal demise of female infant born 2/4/2022 at 2313 weighing 5399g
with Apgars 0 & 0 at one and five minutes.
Signed: Itauma, MD, Omosalewa”

A9, That the records of McLaren Bay Region Hospital on the mother
Kristen Praet indicate:

2/6/2022 1753

Attending / Admitting Physician: Omosalewa Itauma, MD
Principal Diagnosis at Discharge:

1. IUFD at 20 weeks or more of gestation.

2. Pregnancy.

3. Obesity.

4, DM2 (diabetes mellitus, type 2)

5. Group B strep positive.”

50. That the records of McLaren Bay Region Hospital on the mother
Kristen Praet indicate:

Discharge Summary

2/6/2022 18:24

Hospital Couse

33 yo G4P2021 s/p repeat low transverse cesarean delivery on
2/4/2022 for term intrauterine fetal demise, fetal macrosomia,
maternal diabetes mellitus, Class IV obesity, and previous
cesarean delivery. Patient has no complaints. She and husband desire
an autopsy and genetic testing. Patient reports pain controlled with
pain meds. She reports no fever or chills, chest pain, nausea or
vomiting.

Discharge Diagnoses and Plan

1. IUFD at 20 weeks or more of gestation

s/p repeat cesarean delivery of female infant born 2/4/2022 at 2313
weighing 5399g with Apgar’s 0 & 0 at one and five minutes
Follow up IUFD work up labs

Parents desire an autopsy and genetic testing

Pregnancy loss counselor referral placed

2. Pregnancy

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s/p repeat cesarean delivery

afebrile, hemodynamically stable

Post op Hb 12.9

Tolerating diet

Pain control with pain meds as needed

Lovenox for thromboembolism prophylaxis postpartum
3. Obesity

4. DM2 (diabetes mellitus, type 2)

Metformin 1000mg PO BID started

Insulin aspart 10units SC TIDAC

Discharged home to follow up in OB/GYN office within 1 weeks.
Signed: Dr. Omosalewa Itauma, MD

That the records of McLaren Bay Region Hospital on the mother
Kristen Praet indicate:

Discharge Summary

2/6/2022 18:24

OB Postpartum Discharge Note

ltauma, MD, Omosalewa

Hospital Course:

33 yo G4P2021 sip repeat low transverse cesarean delivery on
2/4/2022 for term intrauterine fetal demise, fetal macrosomia,
maternal diabetes mellitus, Class IV obesity, and previous cesarean
delivery. Patient has no complaints. She and husband desire an
autopsy and genetic testing. Patient reports pain controlled with
pain meds. She reports no fever or chills, chest pain, nausea or
vomiting.”

That the records of the Bay County Medical Examiner - Autopsy
Report of S.P. Deceased indicate:

“Date of Death: 2/4/22

Place of Autopsy: Bay McLaren
Autopsy Assist: Randy Mudd

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Witnesses: Dr. Morrone, Chief Medical Examiner, Jessica Duranezyk,
OBRN

Autopsy Findings

Fetal Macrosomia

5280 grams

Opinion: This 38-week gestation, white infant female, S.R.P died of
fetal macrosomia complicated by maternal gestational diabetes and
morbid obesity. There are no injuries. The manner of death is natural.
Signed: Patrick Cho, MD, Consulting Forensic Pathologist”

V.

CLAIM FOR NEGLIGENCE OF DEFENDANT UNITED STATES
OF AMERICA

The Defendant, the United States of America, by and through its agents,
apparent agents, employees, servants, representatives, and contractors,
undertook duties to provide proper care to Plaintiff's decedent, S.P., with
the level of care, skill, and treatment that is recognized as acceptable and
appropriate by reasonably prudent health care providers.

At all times material herein, a patient-health professional relationship
existed between Plaintiff mother and/or Plaintiff's decedent and Dr.
Vanessa Rondinelli.

At all times material herein, a patient-health professional relationship
existed between Plaintiff mother and/or Plaintiff's decedent and Dr.

Audrey Ellen Stryker.

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At all times material herein, a patient-health professional relationship
existed between Plaintiff mother and/or Plaintiff's decedent and Dr.
Omosalewa Itauma.

At all times material herein, a patient-health professional relationship
existed between Plaintiff mother and/or Plaintiff's decedent and Dr.
Douglas Saylor.

At all times material herein, there was a patient-health professional
relationship between health care professionals and Plaintiffs who cared for
Plaintiffs at McLaren Bay Region Hospital which health care professionals
were the agents, servants or employees of Defendant USA, either real or
ostensible.

At all times material herein, Defendant USA’S employees and/or agents,
Dr. Vanessa Rondinelli, Dr. Audrey Ellen Stryker, Dr. Omosalewa
Itauma, and Dr. Douglas Saylor, were doctors duly licensed to practice
medicine in the State of Michigan.

Dr. Vanessa Rondinelli, Dr. Audrey Ellen Stryker, Dr. Omosalewa
Itauma, and Dr. Douglas Saylor were the agents, servants or employees
of Defendant United State of America, either real or ostensible, and was

acting in the course and scope of said employment when said doctors

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violated the standard of practice of his profession in the care and treatment
of Plaintiffs as stated herein.

The Great Lakes Bay Health Center-Women’s Care Bay City is liable
to Plaintiffs herein under the doctrine of respondeat superior, either real or
ostensible, for the malpractice of Dr. Vanessa Rondinelli, Dr. Audrey
Ellen Stryker, Dr. Omosalewa Itauma, and Dr. Douglas Saylor as
alleged herein.

The Great Lakes Bay Health Center-Women’s Care Bay City is a
federally funded healthcare facility owned, operated and controlled by the
United States of America through its agency, U.S. Department of Health
and Human Services.

At all times material hereto, Dr. Vanessa Rondinelli, Dr. Audrey Ellen
Stryker, Dr. Omosalewa Itauma, and Dr. Douglas Saylor, when
rendering health care services to Plaintiffs herein, were the agents, servants
and/or employees of the U.S. Department of Health and Human Services, or
some other agency thereof, and was at all times material hereto, acting

within the course and scope of such employment.

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BREACHES OF THE STANDARD OF PRACTICE OR CARE IN
THIS CASE BY THE OBSTETRICIANS/GYNECOLOGISTS,
DR. VANESSA __RONDINELLI, DR. AUDREY ELLEN
STRYKER, DR. OMOSALEWA ITAUMA, AND DR. DOUGALS
SAYLOR

57.  Atall times material herein, in light of the state of the art existing at the time
of the medical malpractice as alleged herein, the Defendant USA’s agents
and/or employees, Dr. Vanessa Rondinelli, Dr. Audrey Ellen Stryker,
Dr. Omosalewa Itauma, and Dr. Douglas Saylor, individually and/or
through their agents or employees, owed a duty to Plaintiffs, pursuant to the
medical professional relationship that existed between them, and/or owed
duties to Plaintiffs as a third-party beneficiary pursuant to the implied and/or
expressed contract between them. The standard of care was breached in one

or more of the following ways:

a. To exercise reasonable skill and diligence to recognize that Plaintiffs
decedent had a high probability of sudden clinically significant
deterioration, which required the highest level of physician and/or
nurse monitoring and preparedness to intervene pursuant to the

standard of care.

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. To exercise reasonable skill and diligence to timely inform the

. To exercise reasonable skill and diligence to timely diagnose

. To exercise reasonable skill and diligence to timely admit the mother

. To exercise reasonable skill and diligence to timely treat Plaintiffs

. To timely exercise reasonable skill and diligence in response to

attending physician or supervisory physician the true nature of the

patient’s condition under the circumstances.

Plaintiff's decedent’s conditions.

to the hospital and provide fetal monitoring and delivery the baby by,

C-section.

decedent’s conditions by the performance of a delivery by C-section
on 1/31/22 and/or at 38 weeks’ gestation.
To exercise reasonable skill and diligence in the timely treatment and
care of Plaintiffs decedent's conditions, to-wit: fetal macrosomia
and/or maternal diabetes and/or decreased fetal movement by delivery

at approximately 38 weeks’ gestation and/or on 1/31/22.

Plaintiffs decedent’s complaints and/or Plaintiff's decedent’s

observations of her own condition of which Plaintiff's decedent made

known to Defendants, its agents, servants and/or employees.

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h. To perform the aforementioned delivery in accordance with the
standard of practice governing Defendants’ conduct.
i. To timely recognize Plaintiff's decedent and the mother’s abnormal
conditions timely and therefore failed to timely diagnose Plaintiff's
decedent's conditions and/or failed to timely treat same by admitting
the mother to the hospital timely, provide fetal monitoring and deliver
by C-section or induction timely.
j. To makea timely complete and frank disclosure to Plaintiff's decedent
of all the risks involved in Defendants’ proposed treatment and/or care
of Plaintiff's decedent’s conditions (i.e. continuing the pregnancy
beyond 38 weeks’ gestation).
k. To make a timely and complete disclosure of all facts, diagnoses,
and/or alternatives and/or possibilities which could occur to Plaintiff's
decedent, in a language simple to be understood by Plaintiff's decedent
as a result of Defendants’ proposed treatment of same.

l. To timely advise Plaintiff's decedent of the probability of success of

the proposed procedures, care and/or treatment to be used upon
Plaintiff's decedent in a language simple to be understood by

Plaintiff's decedent.

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m. To obtain the informed consent of Plaintiff's decedent by giving

. Plaintiffs decedent was not under any obligation to inquire whether

. To timely, periodically and properly supervise the residents / caring for

. To timely and/or properly notify the treating doctor and/or any doctor

. To seek timely consultation for Plaintiff's decedent when in the

Plaintiff's decedent accurate and understandable information, having

a discussion of the benefits and risks of available treatment options.

each person who attended her, rendered medical care or treatment or
medical services at said employer was an employee or an independent

contractor at Defendants.

Plaintiff's decedent by giving the appropriate orders and instructions

regarding care and treatment of Plaintiff's decedent.

of significant and/or adverse changes in Plaintiff's decedent's
conditions so that timely medical care and treatment could be rendered

to Plaintiff's decedent timely.

exercise of reasonable care, consultation with a specialist or one with
more experience or training was indicated.

To refrain from abandoning treatment or care and/or treatment to

Plaintiff's decedent.

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58.

s. To follow the applicable statutes and/or rules and/or regulations of the

State of Michigan and/or the State of Michigan's Administrative Code

and/or MCL 333.21513, MCLA 333.20175, et seq., or federal
government including, but not limited to, MCL 333.21513, MCLAI
333.20175, et. seq.

t. To select and retain only competent physicians and use reasonable
means to periodically evaluate their competency so as only to retain
competent doctors and/or nurses.

The Defendant and its agents and/or employees were required by the
standard of care and/or the statutes of the State of Michigan and/or the
Michigan Administrative Code to timely formulate, adopt and/or enforce

adequate rules, procedures, guidelines, protocols and policies to ensure

quality care for patients, including, but not limited to, where appropriate, the’
need for house doctors or those with staff privileges to resort to
consultations when their own medical knowledge, skill and experience is
insufficient to proper care and/or with respect to the administration of
medication and/or observations of patients and/or the taking and recording
of vital signs and/or the performance of examinations or treatment of

patients and/or rules of the Michigan Administrative Code R325.1058;

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59.

60. The Defendant USA was guilty of independent negligence to Plaintiffs by

61.

R325.1028; R325.1052; MCL 333.20175; MCL 333.21513 but in violation
of the standard of care failed to do so.

The Defendant and its agents, servants and/or employees changed and/or

altered the records herein in violation of the standard of care and/or Michigan

Statutes.

carelessly and/or negligently permitting the doctors named herein and nurses,
and other personnel, to be employed by them, when this Defendant knew or
in the exercise of reasonable care should have known, that said doctors were
unfit to render medical care and attention to Plaintiff and Plaintiff's decedent

by reason of their inexperience and/or habitual negligent conduct.

VI.

PLAINTIFFS’ DAMAGES

Plaintiff Kristen Praet has been duly appointed by the Probate Court for the
County of Tuscola, Michigan, Personal Representative of the Estate of S.P.,
Deceased, who departed this life on 2/4/2022, and said personal
representative is a resident of the City of Unionville, County of Tuscola,
Michigan. That said deceased was a resident of the City of Unionville,

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62.

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66.

County of Tuscola, Michigan at the time of her death. That Kristen Praet is
acting under and by virtue of Letters of Authority issued by the Probate
Court. (Exhibit A)

Plaintiff's decedent, S.P., Deceased, left surviving as her heirs at law and
next of kin, including but not limited to her mother, Kristin Praet and her
father, Jason Praet.

At all times material herein, the injuries and/or damages suffered by the
Plaintiff’s decedent were more probably than not proximately caused by
the negligence/malpractice of the Defendants, their agents, servants and/or
employees, either real or ostensible.

Plaintiff's decedent S.P. sustained personal injuries as a direct and
proximate result of Defendant's negligence and malpractice as herein
alleged.

As a direct and proximate result of the malpractice and negligence of the
Defendants their agents, servants and/or employees, either real or
ostensible, as alleged herein, Plaintiff's decedent, S.P., sustained personal
injuries, conscious pain and suffering and death.

As a direct and proximate result of the malpractice and negligence of the
Defendants as herein alleged, Plaintiff's decedent, S.P. suffered loss of

enjoyment of life, hedonic damages. (See Nice v Chesapeake & O.R. Co.

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(1964, W.D. Mich) 305 F Supp 1167 (applying Michigan law); Dyer v U.S.,
(1982, W.D. Mich) 551 F Supp 1266 (applying Michigan law).

As a direct and proximate result of the negligence and malpractice as herein
alleged of Defendants, their agents, servants and/or employees, either real

or ostensible, as aforesaid, the injured Plaintiffs decedent S.P.:

A.

At all times material herein, Plaintiff Kristen Praet was not at fault and/or

was not negligent.

sustained severe and permanent bodily injuries which were
painful, disabling and necessitated medical care; and/or
suffered shock, mental anguish, fright and emotional damage;
and/or
sustained possible aggravation of pre-existing conditions and/or
reactivation of dormant conditions; and/or
hampered said Plaintiff's decedent in the enjoyment of the
normal pursuit of life; and/or

any other damages which are applicable and which are
recoverable pursuant to statute, case law and Michigan court

rules.

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69. At all times material herein, as a direct and proximate result of the
negligence of Defendant, and its agents, servants and/or employees, either
real or ostensible:

a. Plaintiff's decedent, S.P., prior to her death, had permanently
impaired cognitive capacity rendering him incapable of making
independent, responsible life decisions and permanently incapable of
independently performing the activities of normal daily living.

70. The within cause is brought on behalf of said Estate and the heirs and next
of kin of said decedent to recover for the conscious pain and suffering
suffered by Plaintiff's decedent prior to his death, the loss of love, affection,
companionship, services, instruction, guidance, advice, gifts, inheritance,
support, and income services sustained by Plaintiff's decedent's heirs at law
and next of kin as a result of the death of Plaintiff's decedent, S.P.; the
funeral and burial expenses and any and all other amounts recoverable
under the statutes and case law of the State of Michigan by the heirs, next
of kin, and/or Estate of said deceased.

71. The within cause of action is brought on behalf of said estate and the heirs
and next of kin of said decedent to recover for all damages, both past and
future, permitted by law, including, but not limited to, conscious pain and

suffering suffered by Plaintiff's decedent prior to her death, loss of love,

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affection, companionship, society, loss of services, loss of gifts and
valuable gratuities, loss of parental training and guidance, mental suffering
and sorrow, hedonic damages, any other damages sustained by Plaintiff's
decedent's heirs at law and next of kin as a result of the death of Plaintiff's
decedent, S.P., and any and all other amounts recoverable under the statues
and the case law of the State of Michigan by the heirs, next of kin and/on
the Estate of said deceased.
72. The within cause is brought on behalf of said estate and the heirs and next of
kin of said decedent to recover for any and all damages, both past and
future, pursuant to law, including, but not limited to one or more of the
following: medical care, treatment, expenses, other related expenses,
funeral and burial expenses, lost wages, loss of ability to work, future loss
of income, impaired earning capacity, loss of expected inheritance, loss of
society and companionship, loss of services, instruction, guidance, care,
loss of gifts and valuable gratuities, inheritance, loss of economic
opportunity, loss of financial support, hedonic damages, and any and all
other amounts recoverable under the statues and the case law of the State

of Michigan by the heirs, next of kin and/or the Estate of said deceased.

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WHEREFORE, Plaintiffs respectfully request that the Court grant judgment
against Defendants, jointly and severally, in whatever amount Plaintiffs are found
to be entitled to compensatory damages; and for penalties, and Plaintiffs’ actual
attorney fees, plus interests and costs.

Respectfully Submitted,

s/Ardiana Culaj

Attorney for Plaintiffs

The Thurswell Law Firm

1000 Town Center, Ste. 500

Southfield, MI 48075

(248) 354-2222

aculaj(@thurswell.com
Dated: 8/14/24 P71553

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State of Michigan  )
)SS:

County of Oakland )

AFFIDAVIT OF MERIT OF HEALTH CARE PROFESSIONAL

Dr. Roger Kushner, being first duly sworn, deposes and states the
following:

1. Tama licensed health care professional.

2. I certify that I have reviewed the Notice of Intent to File Claim and
the statements set forth in the Notice of Intent to File Claim are within
my area of specialty of OB/GYN, and were on the date of the
malpractice, and one year prior to the date of the alleged malpractice.
In addition, I have reviewed all the medical records provided by the
Plaintiffs’ attorney concerning the allegations contained in the notice.

FACTUAL BASIS FOR THE CLAIM

Kristen Praet became pregnant in April of 2021. She had an expected
due date of February 12, 2022, based on ultrasound, and a due date of
February 4, 2022 based on her last menstrual period. Kristen Praet received
prenatal care from Great Lakes Bay Health Center-Women’s Care Bay City,

which is a federally funded clinic in Bay City, Michigan. She attended
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approximately 25 prenatal visits from 8/4/21 at 12 weeks to 1/24/22 at Great
Lakes Bay Health Centers-Women’s Care.

Kristen Praet’s pre-pregnancy weight was approximately 280 pounds.
At 37 weeks gestation, her weight was 358 pounds. She was an insulin
dependent diabetic with a 5-times increased risk of fetal demise.

On 9/22/21, at 19 weeks and 4 days gestation, it was noted that
Kristen Praet had pre-gestational Diabetes mellitus and was on insulin, Hb A
1 c 9 in first trimester. It was noted she had a lower transverse c-section in
2019 at 37 weeks and 4 days gestation.

On 10/5/21, Kristen Praet presented to Dr. Daniel Wechter (Maternal
Fetal Medicine PC) at approximately 22 weeks gestation for a consultation
due to her pre-gestational diabetes and obesity. Dr. Wechter noted under
impression and recommendations: “I think this patient is stable today, but
has significant risks related to her weight and diabetes (undetected anomaly,
neonatal hypoglycemia, [UFD, preeclampsia, wound infection at her repeat
C/S.” P1-2 Dr. Wechter Letter’s dated 10/5/21.

On 1/7/22, Kristen Praet was seen by Heidi Petrimoulx, a registered
medical assistant. It was noted that “patient desires to proceed with a repeat

C-section. Will schedule for 39 weeks gestation.” P331.
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On 1/14/22, an ultrasound and biophysical profile was done at 35
weeks and 6 days gestation. BPP score was 8/8. Estimated fetal weight was
4116g >95"% P3-4 ultrasound reports.

On 1/20/22, an ultrasound and biophysical profile was done at 36
weeks and 5 days gestation. The BPP score was 8/8. Estimated fetal weight
was 4116, >95" percentile, and there was increased abdominal
circumference greater than 95%, markedly increasing the risk of shoulder
dystocia. P5-6 Ultrasound Reports.

On 1/24/22, Kristen Praet was seen at Great Lakes Bay Health Center
at 37-2/7 weeks’ gestation; It was noted “patient is here today at 37 weeks 2
days. She had a reactive NST. Her last ultrasound showed the baby was in
the 95" percentile.” P285 Her initial blood pressure was elevated. She is
essentially asymptomatic aside from some difficulty breathing when laying
flat and some increase in lower extremity swelling. “Patient was discussed
with Dr. Stryker, will send to hospital today for further evaluation.”P285.

On 1/24/22, following her visit at Great Lakes Bay Health Center,
Kristen Praet presented to McLaren Bay Region Hospital. She was seen by
Dr. Vanessa Rondinelli.

Mclaren Bay region Hospital discharge summary states in part:

“1/24/22 Discharge Summary: Pt is a 33y G4P1021 at 37-2/7 weeks
who presents from the office with orthopnea, swelling and elevated
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BP x1 during NST. Her one BP in the office was 150/90 mmHg,

her repeat was 122/92 mm Hg.
Pt reports that for the past few days, she's been experiencing painful

swelling in bilateral lower extremities predominantly at night.
Relieved with elevation of the legs. She has started to notice little red
dots around her ankles. She has compression stockings at home but
they are too small for her and barely fit over her calves. She denies
calf pain. She also reports feeling heaviness in the chest at night
when she lays to sleep. She sleeps on her sides and never on her back
but still feels the pressure. She denies chest pain, sputum, or

coughing fluid. She denies any chest pain. Pt reports occasional
unilateral headaches located at the temple, which self-resolve or
improve with Tylenol. Denies changes in vision. She reports that her
sugars have been well controlled, but she didn't take her lunch time
insulin today with her meal.”

1/24/22 PROBLEMS LIST: 2019- LT C/S breech. 37-4/7 wks.
8#3 desires TOLAC (trial of labor after cesarean section) signed
consent 11/3/21. Pre-gestational DM on insulin, Hb A Ic 9 in first
trimester NPH 30AM & PM, aspart 20 TID. Fetal survey twice
weekly starting at 32 weeks. Fetal macrosomia: Last EFW 1120:
EFW=4116grams 91bsloz >95th AC=>95thY% FHT=148bpm
BPP=8i8 AFI=16.1cm posterior placenta and cephalic
presentation.”

1/24/22 Hospital Course: Patient was monitored for over 2 hours
with BPs cycling every 15 mi. She had one borderline elevated BP
of 141/71 mm Hg which was within 4 hours from her initial high
BP reading in the office. Pre-eclampsia labs were submitted and
within normal limits. Her P:C ratio was 0.1. Her lung exam was
unremarkable, and I believe the SOB is due to weight and possible
atelectasis, for this I gave her an incentive spirometer to take home
for use. In regards to her lower extremity swelling, she was given
Ace bandages to wrap her feet and ankles. She has 2+ pitting edema
bilaterally but no swelling in the upper extremities. Her POC
glucose was 201. She was given 4 units of insulin and her glucose
decreased to 94.”
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1/24/22 We had a lengthy discussion today regarding her desire to
VBAC. Her previous C/S was due to breech presentation, and she's
never had a vaginal birth before or after that section. In light of the

fact that she has diabetes, and this baby is measuring >95th%
with AC >95% and EFW 4116 four days ago, the risk of birth

trauma to the neonate or obstetrical trauma to her is significantly
higher. I calculated her predicted chance of VBAC using the

Maternal-Fetal Medicine Units Network calculator to be 27%. The
patient was tearful as she was depending on a successful VBAC to
take care of her baby and toddler at home postpartum. I
acknowledged her concerns and explained to her that we always have
to weigh risks and benefits of birthing options and ultimately make a
plan using shared decision making. In this case, knowing the baby
will likely be macrosomic at birth (plan for IOL@ 39 weeks for
pregestational diabetes), the risk of trauma or even death is
significantly higher. The patient will discuss this with her husband
and make a decision this week.”

“1/24/22 Discharge Diagnoses and Plan

1. R/o (rule out) gHTN (gestational hypertension VS
Preeclampsia”

- BPs wnl, one outlier as mentioned above (within 4 hours from
original elevated BP in the office) this does not qualify her for dx of
gestational hypertension

- PreE labs negative (see above)

- pt declined Tylenol, states headache improves with meals

- because pt's P:C ratio less than 0.2, not necessary to repeat 24h
urine protein at this time

- pt encouraged to come to the office tomorrow, wed or thurs (before
her BPP on Friday) for BP check. Pt stated that her husband works
these days, and she likely won’t have a ride, but I encouraged pt to
find alternate mode of transportation to come in for BP check.
Communication note sent to OB nurse to f/u tomorrow

- Emphasis on pre-eclampsia symptoms reiterated, pt understands
and agrees to return to hospital if any worsening signs or symptoms .
develop.

Patient Discharge Condition

stable

Discharge Disposition
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home

Follow Up Appointments

When: 1/28/22

With: Dr. Vanessa A Rondinelli, MD

Electronically signed: Dr. Vanessa A Rondinelli, MD

P33-34, P35-36, P38-41

On 1/26/22 at 37 weeks gestation, edema 2+ in the lower extremities was
noted. P283

On 1/28/22, Dr. Rondinelli and Dr. Itauma scheduled a C-section on 2/8/22.
P336

On 1/28/22, another ultrasound and biophysical profile was performed at 37
weeks and 6 days gestation. BPP score was 8/8. It was noted the baby’s weight was
still greater than 95%. P7-8 (US reports)

On 1/31/22 , another ultrasound and biophysical profile was performed at 38
weeks and 2 days gestation. Kristen Praet was seen by Dr. Audrey Ellen Stryker. It
was noted that the non stress was non-reactive on that day. Maternal obesity and

pregestational diabetes were noted. BPP score was 8/10.

Biophysical Profile: Fetal body movements; normal (2). Fetal Tone:
normal (2). Fetal breathing movements: normal (2). Amniotic fluid
volume: normal (2). Non-stress test: abnormal (0).

Score: 8 / 10.

Sonographer: Kayla Violette, RDMS

Physician: Audrey Stryer, MD

P9-10 (US reports)

1/31/22 (Monday) Repeat C-section consent on chart.
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Kristen Praet was told to follow up as needed twice weekly until surgery. The
next visit was scheduled in 4 days. P323-329

On 2/04/2022 at 5:04pm, Kristen Praet returned to her prenatal care
provider for another ultrasound and biophysical profile. She was seen by Dr.
Rondinelli. At that time, the fetal ultrasound showed that the baby’s heart
rate was absent. It was noted there was decreased fetal activity. It was noted
“Pt presented for BPP, reported no kicks since Monday (1/31/22) but
sensation of ‘rolling’” No heart tones detected on US via 2D or Doppler
flow. Intrauterine fetal death was confirmed. Patient appropriately
devastated by the news. Provided emotional support and sent to L&D for
induction vs repeat CS. OI updated.” P320

On 2/4/22 at 7:15 pm, Kristen Praet presented to McLaren Region
Bay Hospital. Kristen was seen by Dr. Itauma. Dr. Itauma’s note states in
part as follows:

Addendum by Itauma, MD, Omosalewa on February 04, 2022
21:51
33 yo G4P1021 at 38 weeks 6 days gestational age by 12-week

ultrasound with IUFD diagnosed during office visit earlier today.
Patient with history significant for previous cesarean delivery and

diabetes diagnosed during this pregnancy. Last growth ultrasound
1/20/2022 showed fetal macrosomia with EFW 4116g. Route of
delivery discussed with patient TOLAC vs repeat cesarean delivery.
Patient desires repeat cesarean delivery. Risks and benefits of repeat
cesarean delivery discussed with risks including but not limited to
infection, bleeding, unintended injury to surrounding structures, and
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need for more extensive surgery. Patient expressed understanding.
Informed consent signed.
Elevated bps on presentation to L&D noted, most recent wnl
106/75. HELLP labs wol. Urine protein creatinine ratio- calculation
not able to be performed. Continue to monitor bps.
To OR for repeat cesarean delivery.
Signed: ltauma, MD, Omosalewa
P41-42
On 2/5/2022, at 12:48 am, Dr. ltauma performed a repeat low
transverse C-section. Kristen’s deceased baby, S.P. was born on 2/4/2022 at
11:13 pm, weighing 5399g with Apgars 0 & 0 at one and five minutes. P76.
Dr. Itauma’s discharge diagnoses were as follows: intrauterine fetal demise,
obesity, type 2 diabetes, and group B strep positive. P5-6
An autopsy of the baby, S.P was performed by forensic pathologist,
Dr. Patrick Cho. Dr. Cho concluded that §.P died of fetal macrosomia

complicated by maternal gestational diabetes and morbid obesity. P1-8

THE APPLICABLE STANDARD OF CARE ALLEGED — MANNER IN
WHICH THE APPLICABLE STANDARD OF CARE WAS BREACHED

The standard of care of Dr. Vanessa Rondinelli and/or Dr. Audrey
Ellen Stryker and/or Dr. Omosalewa Itauma, and/or Dr. Douglas Saylor,
required that they timely inform Kristen Praet that delivering the baby at 37
weeks and/or 38 at the absolute latest, would be safer than waiting until 39

weeks. Kristen Praet was an insulin dependent diabetic with a 5-times
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increased risk of fetal demise, therefore the standard of care of the OB/GYN
mentioned herein required that they induce Kristen Praet’s labor and/or
perform a C-section at 37 weeks. In violation of the standard of care, they
failed to do so.

The ultrasound on 1/20/22 noted an EFW of 4116+ 1 pound with an
increased AC (abdominal circumference) greater than 95th percentile
markedly increasing the risk of shoulder dystocia.

That based upon the increased maternal and fetal risks in this case,

including:

A. Uterine rupture from prior C-section and/or

B. Shoulder dystocia and brachial plexus injury from macrosomia and
insulin dependent diabetes and/or

C. H/O decreased fetal movement and/or

D. Increased risk of still birth

On 1/31/22, Plaintiff Kristen Praet was seen in the office by Kayla Violette,
RDMS (Sonographer). She noted very little fetal movement with a non-reactive
NST obtained BPP (Biophysical Profile) was 8/ 10.Based upon the increased
maternal and fetal risks in this case, including: uterine rupture from prior C-section
and/or, shoulder dystocia and brachial plexus injury from macrosomia and insulin

dependent diabetes and/or history of decreased fetal movement and/or, increased
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risk of still birth, the standard of care required on 1/31/22 an immediate C-section,
which the mother had previously consented to, or labor induction after the 1/31/22
NSRT (non-reactive stress test), but in violation of the standard of care this was not
done.

On 1/31/22 the standard of care required baby Stella Praet be delivered but
in violation of the standard of care was not delivered. Timely delivery by C-section

or induction of labor on 1/31/22 would have avoided the baby’s death.

THE MANNER IN WHICH THE BREACH OF THE STANDARD OF
PRACTICE OR CARE WAS THE PROXIMATE CAUSE OF THE
INJURY

The failure to perform a timely delivery, C-section was the direct and
proximate cause of minor Plaintiff's decedent’s brain damage, and seizures, etc.,
as during this delay in delivering Plaintiff's decedent, S.P, she suffered from
progressive, prolonged, and cumulative hypoxia (decrease in oxygen rich blood)
and/or ischemia. Brain cells need oxygen to live and because of the failure to
receive the oxygen, brain cells of Plaintiff's decedent, S.P died, and ultimately
S.P died.

3. | My opinions in this Affidavit of Merit are preliminary and are based
upon the specific information contained in the medical records in this

particular case provided to me prior to signing this Affidavit of Merit.

10
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As additional information is obtained through additional medical
records and throughout the course of discovery, including depositions,
I reserve the right to modify and/or alter and/or change my opinions.
The opinions expressed herein are based solely on the medical records
supplied to me, as well as my knowledge, training, skill, and
experience. The above is meant to serve as a summary of my opinions
and may not include each and every opinion I have formulated.

4. That this is a meritorious case.

Further, affiant saith not.

(Gre Rya

Dr. Roger Kushner

Subscribed and sworn to before me this
day of Gil? , 2024.

CAROLYN YOUNG
My Commission
May 11, 2099
County of Livingston

- U i 1 ch
My Commission’ Expires: $-¥/-2049

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